                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION


SHELLY ALEXANDER,                                )
                                                 )
                            Plaintiff,           )
                                                 )
       v.                                        )             JUDGMENT
                                                 )
KILOLO KIJAKAZI,                                 )        5:22-CV-69-BO
Acting Commissioner of Social Security,          )
                                                 )
                            Defendant.           )
                                                 )

Decision by Court.

IT IS ORDERED, ADJUDGED AND DECREED that plaintiff's counsel be awarded fees
under 42 U.S.C. 406(b) in the amount of $15,400.50.

This judgment filed and entered on November 20, 2023, and served on:
Michael Bertics (via CM/ECF NEF)
Stephen Camak (via CM/ECF NEF)
Mark Dorval (via CM/ECF NEF)
Mark Goldenberg (via CM/ECF NEF)
Wanda Mason (via CM/ECF NEF)
Cassia Parson (via CM/ECF NEF)




                                          PETER A. MOORE, JR., CLERK
November 20, 2023
                                          /s/ Lindsay Stouch
                                          By: Deputy Clerk




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